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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR10-311-TSZ

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   GEVORG MARTIROSYAN,
13
                                   Defendant.
14

15   Offenses charged:
16          Count 1:        Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. § 1349
17
            Counts 4 &7: Bank Fraud, in violation of 18 U.S.C. §§ 1344(1) and 2
18
     Date of Detention Hearing: February 16, 2011
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.      An immigration detainer has been placed on defendant by the United States
23
     Immigration and Customs Enforcement.
24
            2.      Defendant has stipulated to detention, but reserves the right to contest his
25
     continued detention if there is a change in circumstances.
26


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            3.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
 4
            IT IS THEREFORE ORDERED:
 5
            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
 7
                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
10
                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
12
                    government, the person in charge of the corrections facility in which defendant
13
                    is confined shall deliver the defendant to a United States Marshal for the
14
                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
18
            DATED this 16th day of February, 2011.


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                                                   JAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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